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JS 44 (Rev. 06/17)                                                       CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                           DEFENDANTS
Marcqual DeShields                                                                                         VISION QUEST NATIONAL , LTD.

    (b) County of Residence of First Listed Plaintiff                                                       County of Residence of First Listed Defendant              PIMA COUNTY
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                 (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                            NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                       THE TRACT OF LAND INVOLVED.

    (c) Attorneys (Firm Name, Address, and Telephone Number)                                                 Attorneys (If Known)




II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                       III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                        (For Diversity Cases Only)                                        and One Box for Defendant)
’ 1    U.S. Government                ’ 3   Federal Question                                                                     PTF       DEF                                           PTF      DEF
         Plaintiff                            (U.S. Government Not a Party)                        Citizen of This State         ’O 1      ’ 1       Incorporated or Principal Place       ’ 4     ’ 4
                                                                                                                                                       of Business In This State

’ 2    U.S. Government                O4
                                      ’     Diversity                                              Citizen of Another State          ’ 2    ’    2   Incorporated and Principal Place    ’ 5     ’O5
         Defendant                            (Indicate Citizenship of Parties in Item III)                                                             of Business In Another State

                                                                                                   Citizen or Subject of a           ’ 3    ’    3   Foreign Nation                      ’ 6     ’ 6
                                                                                                     Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                           Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                           TORTS                                  FORFEITURE/PENALTY                         BANKRUPTCY                    OTHER STATUTES
’   110 Insurance                      PERSONAL INJURY                PERSONAL INJURY              ’ 625 Drug Related Seizure          ’ 422 Appeal 28 USC 158          ’ 375 False Claims Act
’   120 Marine                       ’ 310 Airplane                 ’ 365 Personal Injury -              of Property 21 USC 881        ’ 423 Withdrawal                 ’ 376 Qui Tam (31 USC
’   130 Miller Act                   ’ 315 Airplane Product               Product Liability        ’ 690 Other                               28 USC 157                       3729(a))
’   140 Negotiable Instrument               Liability               ’ 367 Health Care/                                                                                  ’ 400 State Reapportionment
’   150 Recovery of Overpayment      ’ 320 Assault, Libel &               Pharmaceutical                                                 PROPERTY RIGHTS                ’ 410 Antitrust
        & Enforcement of Judgment           Slander                       Personal Injury                                              ’ 820 Copyrights                 ’ 430 Banks and Banking
’   151 Medicare Act                 ’ 330 Federal Employers’             Product Liability                                            ’ 830 Patent                     ’ 450 Commerce
’   152 Recovery of Defaulted               Liability               ’ 368 Asbestos Personal                                            ’ 835 Patent - Abbreviated       ’ 460 Deportation
        Student Loans                ’ 340 Marine                         Injury Product                                                     New Drug Application       ’ 470 Racketeer Influenced and
        (Excludes Veterans)          ’ 345 Marine Product                 Liability                                                    ’ 840 Trademark                        Corrupt Organizations
’   153 Recovery of Overpayment             Liability                PERSONAL PROPERTY                         LABOR                     SOCIAL SECURITY                ’ 480 Consumer Credit
        of Veteran’s Benefits        ’ 350 Motor Vehicle            ’ 370 Other Fraud              ’ 710 Fair Labor Standards          ’ 861 HIA (1395ff)               ’ 490 Cable/Sat TV
’   160 Stockholders’ Suits          ’ 355 Motor Vehicle            ’ 371 Truth in Lending                Act                          ’ 862 Black Lung (923)           ’ 850 Securities/Commodities/
’   190 Other Contract                     Product Liability        ’ 380 Other Personal           ’ 720 Labor/Management              ’ 863 DIWC/DIWW (405(g))               Exchange
’   195 Contract Product Liability   O360 Other Personal
                                     ’                                    Property Damage                 Relations                    ’ 864 SSID Title XVI             ’ 890 Other Statutory Actions
’   196 Franchise                          Injury                   ’ 385 Property Damage          ’ 740 Railway Labor Act             ’ 865 RSI (405(g))               ’ 891 Agricultural Acts
                                     ’ 362 Personal Injury -              Product Liability        ’ 751 Family and Medical                                             ’ 893 Environmental Matters
                                           Medical Malpractice                                            Leave Act                                                     ’ 895 Freedom of Information
        REAL PROPERTY                    CIVIL RIGHTS                PRISONER PETITIONS            ’ 790 Other Labor Litigation          FEDERAL TAX SUITS                    Act
’   210 Land Condemnation            ’ 440 Other Civil Rights         Habeas Corpus:               ’ 791 Employee Retirement           ’ 870 Taxes (U.S. Plaintiff      ’ 896 Arbitration
’   220 Foreclosure                  ’ 441 Voting                   ’ 463 Alien Detainee                 Income Security Act                  or Defendant)             ’ 899 Administrative Procedure
’   230 Rent Lease & Ejectment       ’ 442 Employment               ’ 510 Motions to Vacate                                            ’ 871 IRS—Third Party                  Act/Review or Appeal of
’   240 Torts to Land                ’ 443 Housing/                       Sentence                                                            26 USC 7609                     Agency Decision
’   245 Tort Product Liability             Accommodations           ’ 530 General                                                                                       ’ 950 Constitutionality of
’   290 All Other Real Property      ’ 445 Amer. w/Disabilities -   ’ 535 Death Penalty                  IMMIGRATION                                                          State Statutes
                                           Employment                 Other:                       ’ 462 Naturalization Application
                                     ’ 446 Amer. w/Disabilities -   ’ 540 Mandamus & Other         ’ 465 Other Immigration
                                           Other                    ’ 550 Civil Rights                   Actions
                                     ’ 448 Education                ’ 555 Prison Condition
                                                                    ’ 560 Civil Detainee -
                                                                          Conditions of
                                                                          Confinement
V. ORIGIN (Place an “X” in One Box Only)
’ 1 Original             O2 Removed from
                         ’                              ’ 3         Remanded from             ’ 4 Reinstated or       ’ 5 Transferred from      ’ 6 Multidistrict                 ’ 8 Multidistrict
    Proceeding              State Court                             Appellate Court               Reopened                Another District              Litigation -                  Litigation -
                                                                                                                       (specify)                        Transfer                     Direct File
                                         Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                          28 U.S.C. SECTION 1441
VI. CAUSE OF ACTION Brief description of cause:
                                          Plf alleges injuries as a result of physical,sexual and emotional abuse while a minor in custody of Def facility
VII. REQUESTED IN     ’ CHECK IF THIS IS A CLASS ACTION                                               DEMAND $                                   CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                                                                                                JURY DEMAND:         ’ Yes      ’ No
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                               JUDGE See attached                                                                              DOCKET NUMBER
DATE                                                                   SIGNATURE OF ATTORNEY OF RECORD
07/15/2022                                                            /s/ Gerald J. Valentini
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                   APPLYING IFP                                      JUDGE                          MAG. JUDGE

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                                                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                                          DESIGNATION FORM
                    (to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

Address of Plaintiff: ______________________________________________________________________________________________
                                  4400 East Broadway Boulevard, Suite 501, Tucson, AZ 85711
Address of Defendant: ____________________________________________________________________________________________

Place of Accident, Incident or Transaction: ___________________________________________________________________________


RELATED CASE, IF ANY:
                    See attached
Case Number: ______________________________                      Judge: _________________________________                    Date Terminated: ______________________

Civil cases are deemed related when Yes is answered to any of the following questions:

1.     Is this case related to property included in an earlier numbered suit pending or within one year                         Yes                    No    O
       previously terminated action in this court?

2.     Does this case involve the same issue of fact or grow out of the same transaction as a prior suit                        Yes    O               No
       pending or within one year previously terminated action in this court?

3.     Does this case involve the validity or infringement of a patent already in suit or any earlier                           Yes                    No    O
       numbered case pending or within one year previously terminated action of this court?

4.     Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights                        Yes                    No    O
       case filed by the same individual?

I certify that, to my knowledge, the within case          O   is /     is not related to any case now pending or within one year previously terminated action in
this court except as noted above.
       07/15/2022
DATE: __________________________________
                                                                     /s/Gerald J. Valentini
                                                                              Must sign here
                                                              __________________________________________                                    58261
                                                                                                                              ___________________________________
                                                                         Attorney-at-Law / Pro Se Plaintiff                                Attorney I.D. # (if applicable)


CIVIL: (Place a √ in one category only)

A.            Federal Question Cases:                                                       B.   Diversity Jurisdiction Cases:

      1.     Indemnity Contract, Marine Contract, and All Other Contracts                      1.    Insurance Contract and Other Contracts
      2.     FELA                                                                              2.    Airplane Personal Injury
      3.     Jones Act-Personal Injury                                                         3.    Assault, Defamation
      4.     Antitrust                                                                         4.    Marine Personal Injury
      5.     Patent                                                                            5.    Motor Vehicle Personal Injury
      6.     Labor-Management Relations                                                    
                                                                                            O    6.    Other Personal Injury (Please specify): _____________________
      7.     Civil Rights                                                                      7.    Products Liability
      8.     Habeas Corpus                                                                     8.    Products Liability – Asbestos
      9.     Securities Act(s) Cases                                                           9.    All other Diversity Cases
      10.    Social Security Review Cases                                                             (Please specify): ____________________________________________
      11.    All other Federal Question Cases
              (Please specify): ____________________________________________



                                                                            ARBITRATION CERTIFICATION
                                                  (The effect of this certification is to remove the case from eligibility for arbitration.)

         Gerald J. Valentini, Esq.
I, ____________________________________________, counsel of record or pro se plaintiff, do hereby certify:

      
      O       Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
              exceed the sum of $150,000.00 exclusive of interest and costs:

             Relief other than monetary damages is sought.


       07/15/2022
DATE: __________________________________                                    Sign here if applicable
                                                              __________________________________________                                    58261
                                                                                                                              ___________________________________
                                                                         Attorney-at-Law / Pro Se Plaintiff                               Attorney I.D. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

Civ. 609 (5/2018)
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EACH NEWLY REMOVED CASE IS TO BE RANDOMLY ASSIGNED AND
THEN LATER CONSOLIDATED WITH THE CASES PENDING BEFORE
JUDGE MCHUGH:

Marcqual DeShields v. VisionQuest National, LTD.

Coleman v. VisionQuest National, LTD. No. 2:22-cv-01726-GAM

Highly v. VisionQuest, National, LTD. No.:2:22-cv-01997

Valentine v. VisionQuest, National, LTD. 2:22-cv-01998

Per Judge Sanchez’s April 29, 2022 Orders the below cases have been consolidated

1. Barron v. VisionQuest National, LTD, No. 2:21-cv-04801-GAM

2. Rivers v. VisionQuest National, LTD, No. 2:21-cv-04928-PD,

3. Gregory v. VisionQuest National, LTD, No. 2:21-cv-04929-HB,

4. Harris, III v. VisionQuest National, LTD, No. 2:21-cv-04938-JMY,

5. Meyer v. VisionQuest National, LTD, No. 2:21-cv-04940-GEKP

6. Boxley v. VisionQuest National, LTD. No. 2:22-cv-00380-GEKP

7. Vazquez v. VisionQuest National, LTD. No. 2:22-cv-00410-KSM

8. Wallace v. VisionQuest National, LTD. No. 2:22-cv-00411-MSG

9. Pitts v. VisionQuest National, LTD. No. 2:22-cv-00680-AB

10. Foster s v. VisionQuest National, LTD. No. 2:22-cv-00682-JDW

11. Herd v. VisionQuest National, LTD. No. 2:22-cv-00976-AB

12. Shields v. VisionQuest National, LTD. No. 2:22-cv-00981-JS

13. Mincy v. VisionQuest National, LTD. No. 2:22-cv-01047-JHS

14. Hayes v. VisionQuest National, LTD. No. 2:22-cv-01264-NIQA
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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                     CASE MANAGEMENT TRACK DESIGNATION FORM

                                                        CIVIL ACTION NO.
Marcqual DeShields
             v.

VisionQuest National, Ltd., et al.


In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the
reverse side of this form.) In the event that a defendant does not agree with the plaintiff regarding
said designation, that defendant shall, with its first appearance, submit to the clerk of court and serve
on the plaintiff and all other parties, a case management track designation form specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:

(a) Habeas Corpus – Cases brought under 28 U.S.C. §2241 through §2255.                              ( )

(b) Social Security – Cases requesting review of a decision of the Secretary of Health
    and Human Services denying plaintiff Social Security Benefits                                   ( )

(c) Arbitration – Cases required to be designated for arbitration under Local Civil Rule 53.2.      ( )

(d) Asbestos – Cases involving claims for personal injury or property damage from
   exposure to asbestos.                                                                            ( )

(e) Special Management – Cases that do not fall into tracks (a) through (d) that are
    commonly referred to as complex and that need special or intense management by
    the court. (See reverse side of this form for a detailed explanation of special
    management cases.)                                                                              ( )

(f) Standard Management – Cases that do not fall into any one of the other tracks.                 ( x)




7/15/2022               ____________________________         VisionQuest National Ltd________
Date                        Attorney-at-law                         Attorney for Defendant

 (215) 587-9400                        (215) 587-9456            gvalentini@dmvlawfirm.com
Telephone                            FAX Number                         E-Mail Address




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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 MARCQUAL DESHIELDS                                        CIVIL ACTION

                     v.                                    NO.

 VISIONQUEST NATIONAL, LTD.

                           NOTICE OF REMOVAL OF DEFENDANT
                              VISIONQUEST NATIONAL, LTD.

       Defendant, VisionQuest National, LTD., by its attorneys, Deasey, Mahoney & Valentini,

LTD., hereby removes the above-captioned action, which is presently in the Court of Common

Pleas of Chester County, Pennsylvania, No. 2022-05064-TT, pursuant to 28 U.S.C. §1441 et seq.

and in support thereof states as follows:

       1.       On April July 11, 2022, Plaintiff commenced this action by filing a Complaint

against VisionQuest National, LTD. in the Court of Common Pleas of Chester County,

Pennsylvania (“the Chester County Action”). A copy of that Complaint is attached as Exhibit “1.”

       2.       This Notice is being filed within thirty days after VisionQuest National, LTD.

received Plaintiffs’ Complaint, and within one year of the institution of Plaintiff’s suit, in

compliance with 28 U.S.C. §1446(b).

       3.       In its Complaint, Plaintiff alleges that he is an adult individual and a resident of the

Commonwealth of Pennsylvania. (See Exhibit 1, ¶ 5).

       4.       VisionQuest National, LTD. is a corporation organized and existing under the laws

of the State of Arizona and, alleged in Plaintiff’s Complaint, its corporate headquarters office is

located at 4400 East Broadway Boulevard Suite 501, Tucson, Arizona.
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       5.       Plaintiff further alleges in his Complaint that VisionQuest National, LTD maintains

Pennsylvania corporate headquarters located at 150 East Pennsylvania Suite 430 Downingtown,

Pennsylvania. (See Exhibit 1, ¶ 6).

       6.       However, while VisionQuest previously maintained a facility located at 150 East

Pennsylvania Suite 430 Downingtown, Pennsylvania, that facility closed in September 2015, and

has remained closed ever since that time. At no time since September 2015 did VisionQuest

National, LTD. maintain a corporate headquarters in Downingtown, Pennsylvania. See a copy of

the affidavit of Carol Keller is attached as Exhibit “2”.

       7.       In this action, Plaintiff seeks damages as a result of alleged harm caused to Plaintiff

by the actions of Defendants employees, agents, staff and/or volunteers. (See Exhibit 1, ¶ 8).

       8.       In Count I of his Complaint in the Chester County action, Plaintiff alleges that he

sustained damages as the direct and proximate result of the carelessness, negligence, and/or

recklessness of Defendant VisionQuest National, LTD. In this Count, Plaintiff seeks damages “for

an amount in excess of the applicable Arbitration Limits of this County, plus costs and interest for

all types of damages legally recoverable including but not limited to compensatory, special,

exemplary, and punitive damages.”

       9.       In Count II of his Complaint in the Chester County action, Plaintiff alleges that

VisionQuest National, LTD. negligently supervised, hired, and retained its employees which

caused Plaintiff to suffer injuries. In this Count, Plaintiff seeks damages “for an amount in excess

of the applicable Arbitration Limits of this County, plus costs and interest for all types of damages

legally recoverable including but not limited to compensatory, special, exemplary, and punitive

damages.”
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       10.           In Count III of his Complaint in the Chester County action, Plaintiff alleges

that VisionQuest National, LTD. is liable for the negligent, reckless, careless, and/or intentional

conduct of the employees under the theory of vicarious liability, including the doctrine of

Respondeat Superior. In this Count, Plaintiff seeks damages “for an amount in excess of the

applicable Arbitration Limits of this County, plus costs and interest for all types of damages

legally recoverable including but not limited to compensatory, special, exemplary, and punitive

damages.”

       11.        Since the amount in controversy in this case is in excess of $75,000, and because

Plaintiff and VisionQuest National, LTD. are domiciliaries of different States, this Court may

exercise jurisdiction over this lawsuit pursuant to 28 U.S.C. §1332.

       12.        This action may be removed to this Court by VisionQuest National, LTD. pursuant

to 28 U.S.C. §1441(a) in that this case was initially brought in a state court within the geographical

area of the Eastern District of Pennsylvania, and in that this Court has jurisdiction pursuant to 28

U.S.C. §1332(a).

       13.        VisionQuest National, LTD. has given written notice of the filing of this Notice of

Removal pursuant to 28 U.S.C. §1446(d), by filing this Notice of Removal with the Court of

Common Pleas of Chester County and by giving written notice to counsel for Plaintiff. A copy of

the Praecipe to File Notice of Removal as filed by VisionQuest National, LTD., is attached as

Exhibit “3”. A copy of the Notice to Plaintiff, given by VisionQuest National, LTD., is attached

as Exhibit “4”.
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       WHEREFORE, Defendant VisionQuest National, LTD. respectfully requests that the

Chester County action be removed to this Court.

                                           DEASEY, MAHONEY & VALENTINI, LTD.




                                           BY:
                                                  GERALD J. VALENTINI, ESQUIRE
                                                  CHRYSTALE B. HEWITT, ESQUIRE
                                                  J.D. FEENANE, ESQUIRE
                                                  Attorneys for Defendant,
                                                  VisionQuest National LTD.
                                                  1601 Market Street, Suite 3400
                                                  Philadelphia, PA 19103
                                                  (215) 587-9400/(215) 587-9456 – fax
                                                  gvalentini@dmvlawfirm.com


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 DEASEY, MAHONEY & VALENTINI, LTD.                                    Attorneys for Defendant,
 By: Gerald J. Valentini, Esquire                                   VisionQuest National, LTD.
  Chrystale B. Hewitt, Esquire
 J.D. Feenane, Esquire
 Attorney I.D. Nos. 58261/82351/319480
 1601 Market Street, Suite 3400
 Philadelphia, PA 19103-2301
 Phone (215) 587-9400
 Fax (215) 587-9456
 gvalentini@dmvlawfirm.com

 MARCQUAL DESHIELDS
                                                 COURT OF COMMON PLEAS
                      v.                         CHESTER COUNTY

 VISIONQUEST NATIONAL LTD.                       NO. 2022-05064-TT


                               CERTIFICATE OF SERVICE

       I hereby certify that on July 15, 2022 a copy of the foregoing Praecipe to File Notice of

Removal was served via e-filing.


                                            DEASEY, MAHONEY & VALENTINI, LTD.




                                            BY                         ____________
                                                   GERALD J. VALENTINI, ESQUIRE
                                                   CHRYSTALE B. HEWITT, ESQUIRE
                                                   J.D. FEENANE, ESQUIRE
                                                   Attorneys for Defendant,
                                                   VisionQuest National, LTD.
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 DEASEY, MAHONEY & VALENTINI, LTD.                                      Attorneys for Defendant,
 By: Gerald J. Valentini, Esquire                                     VisionQuest National, LTD.
     Chrystale B. Hewitt, Esquire
       J.D. Feenane, Esquire
 Attorney I.D. Nos. 58261/82351/319480
 1601 Market Street, Suite 3400
 Philadelphia, PA 19103-2301
 Phone (215) 587-9400
 Fax (215) 587-9456
 gvalentini@dmvlawfirm.com

 MARCQUAL DESHIELDS
                                                   COURT OF COMMON PLEAS
                    v.                             CHESTER COUNTY

 VISIONQUEST NATIONAL LTD.                         NO. 2022-05064-TT


                         PRAECIPE TO FILE NOTICE OF REMOVAL

TO THE PROTHONOTARY:

       Kindly file the attached copy of the Notice of Removal, the original of which was filed

with the Clerk of the United States District Court for the Eastern District of Pennsylvania on July

15, 2022. This Notice of Removal was filed pursuant to 28 U.S.C. §1446 (d).


                                      DEASEY, MAHONEY & VALENTINI, LTD.




                                      BY                            ___________
                                             GERALD J. VALENTINI, ESQUIRE
                                             CHRYSTALE B. HEWITT, ESQUIRE
                                             J.D. FEENANE, ESQUIRE
                                             Attorneys for Defendant,
                                             VisionQuest National, LTD.

Date: July 15, 2022
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 DEASEY, MAHONEY & VALENTINI, LTD.                                       Attorneys for Defendant,
 By: Gerald J. Valentini, Esquire                                      VisionQuest National, LTD.
  Chrystale B. Hewitt, Esquire
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 gvalentini@dmvlawfirm.com

 MARCQUAL DESHIELDS
                                                    COURT OF COMMON PLEAS
                    v.                              CHESTER COUNTY

 VISIONQUEST NATIONAL LTD.                          NO. 2022-05064-TT

                                   NOTICE TO PLAINTIFF

TO:    David Wesley Cornish, Esquire
       Cornerstone Legal Group
       230 Broad Street 17th Floor
       Philadelphia, PA 19102

       Please take notice that Defendant, VisionQuest National, LTD., has filed a Notice of

Removal in the United States District Court for the Eastern District of Pennsylvania, removing this

civil action now pending in the Court of Common Pleas of Chester County pursuant to 28 U.S.C.

§1441, et seq. Also, please take notice that Defendant has filed in the United States District Court

for the Eastern District of Pennsylvania a copy of the Complaint served upon it which was filed in

the Court of Common Pleas of Chester County.

       Copies of this Notice of Removal and Complaint are attached to this Notice and along with

this Notice are being served upon you.
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                                        DEASEY, MAHONEY & VALENTINI, LTD.




                                        BY                 _________
                                              GERALD J. VALENTINI, ESQUIRE
                                              CHRYSTALE B. HEWITT, ESQUIRE
                                              J.D. FEENANE, ESQUIRE
Date: July 15, 2022
